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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION

  TAYVIN GALANAKIS,                                           CASE NO. 4:23-cv-00044
       Plaintiff,

  v.

   CITY OF NEWTON, IOWA, et al.,
         Defendants.                                          PLAINTIFF/COUNTERCLAIM
                                                              DEFENDANT’S
                                                              SUPPLEMENTAL REPLY
  NATHAN WINTERS AND CHRISTOPHER                              APPENDIX FOR SUMMARY
  WING,                                                       JUDGMENT ON
        Counterclaim Plaintiffs,                              COUNTERCLAIMS

   v.
                                                              *FILED UNDER SEAL*

  TAYVIN GALANAKIS,
       Counterclaim Defendant.


        COMES NOW the Plaintiff/Counterclaim-Defendant and for this Appendix

Resisting Counterclaim Plaintiff’s Motion for Partial Summary Judgment provides:

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                                 GRIBBLE, BOLES, STEWART & WITOSKY LAW

                                              BY:         /s/ Adam C. Witosky
                                                      Matthew Boles           AT0001037
                                                      Adam C. Witosky         AT0010436
                                                      2015 Grand Avenue, Suite 200
                                                      Des Moines, Iowa 50312
                                                      Telephone: (515) 235-0551
                                                      Fax: (515) 243-3696
                                                      Email: mboles@gbswlaw.com
                                                             awitosky@gbswlaw.com
                                                      ATTORNEYS FOR PLAINTIFF
                                             PROOF OF SERVICE
                The undersigned certifies that the foregoing instrument was electronically filed on
       CM/ECF on January 19, 2024. Subject to the exceptions cited therein, Local Rule 5A provides
       this electronic filing, once electronically posted to the registered case party’s CM/ECF account,
       constitutes service for purposes of the Federal Rules of Civil Procedure.
                Copies have been provided to all registered parties because once the document is posted,
       those parties can view and download the presented or filed document.

                                                    /s/ Adam C. Witosky




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·1· · · · · · · UNITED STATES DISTRICT COURT
· · · · · · · FOR THE SOUTHERN DISTRICT OF IOWA
·2· · · · · · · · · · ·CENTRAL DIVISION

·3
· · ·- - - - - - - - - - - - - - - -
·4· ·TAYVIN GALANAKIS,· · · · · · ·:
· · · · · · · · · · · · · · · · · ·:
·5· · · · ·Plaintiff,· · · · · · · :
· · ·vs.· · · · · · · · · · · · · ·: Case No.
·6· · · · · · · · · · · · · · · · ·: 4:23-cv-000044
· · · · · · · · · · · · · · · · · ·:
·7· ·CITY OF NEWTON, IOWA, ROB· · ·:
· · ·BURDESS, NATHAN WINTERS,· · · :
·8· ·CHRISTOPHER WING, individually:
· · ·and in their official· · · · ·:
·9· ·capacities with the Newton· · :
· · ·Police Department,· · · · · · :
10· · · · · · · · · · · · · · · · ·:
· · · · · ·Defendants.· · · · · · ·:
11· ·- - - - - - - - - - - - - - - -
· · ·NATHAN WINTERS and· · · · · · :
12· ·CHRISTOPHER WING,· · · · · · ·:
· · · · · · · · · · · · · · · · · ·:
13· · · · ·Counterclaim Plaintiffs,:
· · · · · · · · · · · · · · · · · ·:
14· ·vs.· · · · · · · · · · · · · ·:
· · · · · · · · · · · · · · · · · ·:
15· ·TAYVIN GALANAKIS,· · · · · · ·:
· · · · · · · · · · · · · · · · · ·:
16· · · · ·Counterclaim Defendant. :
· · ·- - - - - - - - - - - - - - - -
17

18· · ·VIDEO-RECORDED DEPOSITION OF TAYVIN GALANAKIS,

19· ·taken by the Defendants/Counterclaim Plaintiffs

20· ·before Jessi C. Lass, Certified Shorthand Reporter

21· ·of the State of Iowa, at 6701 Westown Parkway, Suite

22· ·100, Des Moines, Iowa, commencing at 2:14 p.m.,

23· ·Friday, November 10, 2023.

24

25· · · ·JESSI C. LASS - CERTIFIED SHORTHAND REPORTER


                  SUSAN FRYE COURT REPORTING | 515-284-1972
                  300 Walnut Street, #36, Des Moines, IA 50309-2224
                                  Supp.Appx 8                                        YVer1f
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TAYVIN GALANAKIS· 11/10/2023                                                                                   Pages 2..5
                                                       Page 2                                                       Page 4
·1· · · · · · · · · A P P E A R A N C E S                       ·1· · · · · · · · · P R O C E E D I N G S
·2· ·For the Plaintiff/Counterclaim Defendant:                  ·2· · · · · · ·(Exhibit Numbers 1 through 8 were marked
·3· · · · CHRISTOPHER C. STEWART, ESQ.
                                                                ·3· ·for identification.)
· · · · · GRIBBLE, BOLES, STEWART & WITOSKY LAW FIRM
·4· · · · 2015 Grand Avenue, Suite 200                          ·4· · · · · · ·THE VIDEOGRAPHER:· Today's date is
· · · · · Des Moines, Iowa 50312                                ·5· ·November 10th, 2023, and the approximate time is
·5                                                              ·6· ·2:14 p.m.· This begins the video deposition of
·6· ·For the Defendants/Counterclaim Plaintiffs:                ·7· ·Tayvin Galanakis requested by the defendants and
·7· · · · NICHOLAS F. MILLER, ESQ.
· · · · · BRICK GENTRY PC                                       ·8· ·counterclaim plaintiffs regarding Case
·8· · · · 6701 Westown Parkway, Suite 100                       ·9· ·Number 423-cv-00044 in the United States District
· · · · · West Des Moines, Iowa 50266                           10· ·Court for the Southern District of Iowa, Central
·9                                                              11· ·Division.· This deposition is being held in the
10· ·Videographer:
· · · · · AMY COOPER                                            12· ·offices of Brick Gentry, located at 6701 Westown
11· · · · FIDELITY VIDEO SERVICES, INC.                         13· ·Parkway, Suite 100, in West Des Moines, Iowa.
12· ·Also present:                                              14· · · · · · ·My name is Amy Cooper, certified legal
· · · · · NATHAN WINTERS                                        15· ·videographer of Fidelity Video Services,
13
14                                                              16· ·Incorporated, West Des Moines, Iowa.
15                                                              17· · · · · · ·Counsel will please identify themselves
16                                                              18· ·for the record.
17                                                              19· · · · · · ·MR. STEWART:· Chris Stewart for the
18
                                                                20· ·plaintiff/counterclaim defendant.
19
20                                                              21· · · · · · ·MR. MILLER:· Nicholas Miller for the
21                                                              22· ·defendants and the counterclaim plaintiffs.
22                                                              23· · · · · · ·THE VIDEOGRAPHER:· The oath will now be
23                                                              24· ·administered by Jessi Lass, certified shorthand
24
25                                                              25· ·reporter of Susan Frye Court Reporting, Des Moines,
                                                       Page 3                                                       Page 5
·1· · · · · · T A B L E· ·O F· ·C O N T E N T S                 ·1· ·Iowa.
·2· ·WITNESS:· TAYVIN GALANAKIS· · · · · · · · · · · PAGE       ·2· · · · · · · · · · TAYVIN GALANAKIS,
·3· ·Examination By Mr. Miller .........................5
                                                                ·3· ·the Plaintiff, being first duly sworn by the
·4· ·Examination By Mr. Stewart ......................120
·5                                                              ·4· ·certified shorthand reporter, testified under oath
·6· ·EXHIBITS· · · · · · · · · · · · · · · · · PAGE FIRST       ·5· ·as follows:
· · · · · · · · · · · · · · · · · · · · · · · ·REFERENCED       ·6· · · · · · · · · · · ·EXAMINATION
·7· ·1· ·- Body cam video (City ID 00630) .............20       ·7· ·BY MR. MILLER:
·8· ·2· ·- NAIA drug-testing policy manual ............56
·9· ·3· ·- Video (City ID 00627) ......................65       ·8· · · · Q.· ·State your name.
10· ·4· ·- 8/29/22 Facebook post by Galanakis .........75       ·9· · · · A.· ·My name is Tayvin Galanakis.
11· ·5· ·- Facebook comment string ....................87       10· · · · Q.· ·Can you spell your first and last name.
12· ·6· ·- 11/1/22 Facebook post by Galanakis .........91       11· · · · A.· ·First name, T-a-y-v-i-n, last name,
13· ·7· ·- GoFundMe page for Galanakis ................96
14· ·8· ·- William Penn University "Drug Education ...114       12· ·G-a-l-a-n-a-k-i-s.
· · · · · and Testing Program Policy"                           13· · · · · · ·MR. MILLER:· Thank you.
15                                                              14· · · · Q.· ·(Mr. Miller)· Where do you reside?
· · ·CERTIFICATE OF REPORTER..........................123       15· · · · A.· ·I live in Newton, Iowa.
16
17· ·Reporter's Note:· The original exhibits were               16· · · · Q.· ·Are you employed?
· · ·forwarded to Mr. Miller.                                   17· · · · A.· ·Yep.
18                                                              18· · · · Q.· ·Where?
· · ·(ph) indicates a phonetic spelling.                        19· · · · A.· ·Self-employed, Amazon.
19· ·[sic] indicates the text is as stated.
                                                                20· · · · Q.· ·Are you employed by Amazon?· Or explain
· · ·Quoted text is as stated by the speaker.
20                                                              21· ·that.
21                                                              22· · · · A.· ·I run a business for Amazon.
22                                                              23· · · · Q.· ·Explain that a little bit more.
23                                                              24· · · · A.· ·So I do wholesale.· It's my own business.
24
25                                                              25· ·I don't have an LLC, but Dawn dish soap, wholesale


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TAYVIN GALANAKIS· 11/10/2023                                                                             Pages 26..29
                                                   Page 26                                                      Page 28
·1· · · · A.· ·(Nods head.)                                  ·1· · · · A.· ·That's not the initial reason.
·2· · · · Q.· ·But in any case, you had something on your    ·2· · · · Q.· ·(Mr. Miller)· What was the reason?
·3· ·phone that you thought was proof of your auto           ·3· · · · A.· ·The initial reason why I didn't go to the
·4· ·insurance?                                              ·4· ·email version was because I thought I had the
·5· · · · A.· ·Yes.                                          ·5· ·physical version.
·6· · · · Q.· ·So if you had proof of insurance on your      ·6· · · · Q.· ·Why were your eyes red and watery when
·7· ·phone the whole time, why didn't you provide that to    ·7· ·Officer Winters pulled you over?
·8· ·Officer Winters when he first asked you for proof of    ·8· · · · A.· ·To me they weren't red and watery.· That's
·9· ·insurance?                                              ·9· ·just opinion-based.
10· · · · A.· ·I knew there was an email version and         10· · · · Q.· ·How do you know?
11· ·there was a physical version.· I just happened to       11· · · · A.· ·How do I know they weren't red and watery?
12· ·have the physical version as the expired insurance.     12· · · · Q.· ·Yes.
13· · · · Q.· ·Is it possible that it just took you some     13· · · · A.· ·There's a mirror, and it's like right --
14· ·time to remember that you had an email on your phone    14· ·it's connected to the glass of your screen.· It's
15· ·showing proof of insurance?                             15· ·your rearview mirror.· And once he said that, I
16· · · · A.· ·No.                                           16· ·mean, I could've easily just looked into that mirror
17· · · · Q.· ·You knew you had it the whole time?           17· ·and seen that my eyes weren't red.
18· · · · A.· ·Can you explain on that?                      18· · · · Q.· ·So if you at the time believe your eyes
19· · · · Q.· ·Well, you knew from the time Officer          19· ·weren't red and watery, why didn't you say that?
20· ·Winters first asked you for proof of insurance that     20· · · · A.· ·I mean, I already knew.· I had nothing to
21· ·you had an email version on your phone?                 21· ·prove.
22· · · · A.· ·I did not -- I did not know that.             22· · · · Q.· ·But why didn't you tell Officer Winters
23· · · · Q.· ·You didn't know when he first asked you       23· ·that your eyes -- that you didn't believe your eyes
24· ·for proof of insurance?                                 24· ·were red and watery after he had asked you why they
25· · · · A.· ·I didn't know that I wouldn't have the        25· ·were?
                                                   Page 27                                                      Page 29
·1· ·physical version.· I knew I had an email version,       ·1· · · · A.· ·I don't remember exactly what I told him
·2· ·but I thought I would also have the physical            ·2· ·after he said my eyes were red and watery, but I'm
·3· ·version.                                                ·3· ·pretty sure that triggered a response in me to be
·4· · · · Q.· ·And then -- so then it was once you           ·4· ·conflicted and say, "Wow, is this guy really -- does
·5· ·realized you didn't have the physical copy that you     ·5· ·he really think I'm drunk right now, or is
·6· ·resorted to the email version?                          ·6· ·he really -- does he think I'm high?· Because I know
·7· · · · A.· ·Correct.                                      ·7· ·for a fact that I'm not either of that.· So why
·8· · · · Q.· ·So why not just provide him the email         ·8· ·would my eyes be red and watery?"· That's how I
·9· ·version from the beginning?                             ·9· ·would internally know or easily look into that
10· · · · A.· ·I didn't want to make any sudden movements    10· ·mirror and just see that my eyes are not red. I
11· ·towards my phone.· I just wanted --                     11· ·mean, the video shows my eyes are not red and
12· · · · · · ·(Reporter clarification.)                     12· ·watery.
13· · · · A.· ·-- any sudden movements toward my phone,      13· · · · Q.· ·Well, you never told Officer Winters that
14· ·because I believe it was in my lap, and instead I       14· ·you didn't believe your eyes were red and watery
15· ·did what he told me, which was getting my               15· ·that night, did you?
16· ·registration and insurance.· And, generally, that's     16· · · · A.· ·I don't remember.
17· ·in the glove compartment, and that's what I did.        17· · · · Q.· ·You don't remember whether you told him
18· · · · Q.· ·(Mr. Miller)· So the reason you didn't        18· ·whether you believed your eyes were red or watery?
19· ·initially provide him the email version of your         19· · · · A.· ·No.
20· ·proof of insurance was because you didn't want to       20· · · · Q.· ·Do you remember what you did tell him?
21· ·make a sudden movement toward your phone?               21· · · · A.· ·At the end of the night, towards the end
22· · · · A.· ·Can you repeat that question?                 22· ·of the altercation, before I got arrested, I did
23· · · · · · ·MR. MILLER:· Can you read that back.          23· ·tell him it was -- the reason they could possibly be
24· · · · · · ·(The pending question was read by the         24· ·watery is because I just got done looking up in the
25· ·reporter.)                                              25· ·sky while it was pouring out.· So when you're doing


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TAYVIN GALANAKIS· 11/10/2023                                                                 Pages 122..123
                                                        Page 122
·1· · · · A.· ·Yes.
·2· · · · Q.· ·(Mr. Stewart)· Were you upset with the
·3· ·defendants' actions in their transportation of you
·4· ·and the interactions you had at the police station?
·5· · · · · · ·MR. MILLER:· Object to the form of the
·6· ·question.
·7· · · · A.· ·Yes.
·8· · · · Q.· ·(Mr. Stewart)· Did you believe the conduct
·9· ·of the defendants at both the scene and at the
10· ·station were improper or unlawful?
11· · · · · · ·MR. MILLER:· Object to the form of the
12· ·question.
13· · · · A.· ·Yes.
14· · · · · · ·MR. MILLER:· These are all leading
15· ·questions.
16· · · · · · ·Go ahead.
17· · · · A.· ·Yes.
18· · · · · · ·MR. STEWART:· Nothing further from me.
19· · · · · · ·MR. MILLER:· I have nothing.
20· · · · · · ·THE VIDEOGRAPHER:· Off the record, ending
21· ·the deposition at 5:17 p.m.
22
23
24
25
                                                        Page 123
·1· · · · · · · · · C E R T I F I C A T E
·2· · · · I, the undersigned, a Certified Shorthand
·3· ·Reporter of the State of Iowa, do hereby certify
·4· ·that there came before me at the time, date, and
·5· ·place hereinbefore indicated, the witness named on
·6· ·the caption sheet hereof, who was by me duly sworn
·7· ·to testify to the truth of said witness's knowledge,
·8· ·that the witness was thereupon examined under oath,
·9· ·the examination taken down by me in shorthand and
10· ·later reduced to a transcript through the use of a
11· ·computer-aided transcript device under my
12· ·supervision and direction, and that the deposition
13· ·is a true record of the testimony given and of all
14· ·objections interposed.
15· · · · I further certify that I am neither attorney or
16· ·counsel for, nor related to or employed by any of
17· ·the parties to the action in which this deposition
18· ·is taken, and further that I am not a relative or
19· ·employee of any attorney or counsel employed by the
20· ·parties hereto or financially interested in the
21· ·action.
22· · · · Dated this 19th day of November 2023.
23
24· · · · · · · · · · ·_____________________________
· · · · · · · · · · · ·CERTIFIED SHORTHAND REPORTER
25· · · · · · · · · · ·Jessi C. Lass, Iowa CSR #1336



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 1                  IN THE UNITED STATES DISTRICT COURT                1                         A P P E A R A N C E S
                     FOR THE SOUTHERN DISTRICT OF IOWA
 2                            CENTRAL DIVISION                         2        Plaintiff/Counterclaim
                                                                                Defendants by:      MATTHEW BOLES
 3            TAYVIN GALANAKIS,       )CASE NO.: 4:23-cv-00044         3                            Attorney at Law
                                      )                                                             Gribble, Boles, Stewart &
 4             Plaintiff/Counterclaim )                                4                            Witosky Law
               Defendant,             )DEPOSITION OF                                                2015 Grand Avenue
 5                                    )NATHAN WINTERS                  5                            Suite 200
              vs.                     ){CONFIDENTIAL}                                               Des Moines, IA 50312
 6                                    )                                6
              CITY OF NEWTON, IOWA,   )
 7            et al.,                 )                                7        Defendants/Counterclaim
                                      )                                         Plaintiffs by:      NICHOLAS F. MILLER
 8             Defendants/Counterclaim)                                8                            Attorney at Law
               Plaintiffs.            )                                                             Brick Gentry, P.C.
 9            ________________________)                                9                            6701 Westown Parkway
                                                                                                    Suite 100
10                 THE DEPOSITION OF NATHAN WINTERS, taken            10                            West Des Moines, IA 50266

11            before Emma L. Rosky, Certified Shorthand               11

12            Reporter and Registered Professional Reporter for       12

13            the State of Iowa, commencing at 1:17 p.m.,             13

14            October 27, 2023, at 2015 Grand Avenue,                 14

15            Suite 200, Des Moines, Iowa.                            15

16                                                                    16

17                                                                    17

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24                                                                    24

25                                                                    25
               SWEENEY COURT REPORTING (515) 244-6373                            SWEENEY COURT REPORTING (515) 244-6373
         320 Insurance Exchange Bldg., Des Moines, IA 50309                320 Insurance Exchange Bldg., Des Moines, IA 50309



                                                                  3                                                                  4

                               CONFIDENTIAL                                                       CONFIDENTIAL

 1                             INDEX OF EXAMINATION                    1                             NATHAN WINTERS,

 2            Examination by         Page                              2        called as a witness, having been first duly

 3            Mr. Boles               4                                3        sworn, testified as follows:

 4            Mr. Miller             39                                4                            DIRECT EXAMINATION

 5                                                                     5        BY MR. BOLES:

 6                              PREVIOUSLY MARKED                      6        Q.      Can you state your name for the record,
                                     EXHIBITS
 7            Exhibit                                                  7        please.
              Name         Description                    Page
 8                                                                     8        A.      Officer Nathan Winters, W-i-n-t-e-r-s.
              Exhibit 1    Internal Investigation          16
 9                                                                     9        Q.      Okay.   And how are you employed?
              Exhibit 4    Petition for Relief from
10                         Domestic Abuse                  25         10        A.      Police officer with the City of Newton.

11                                                                    11        Q.   And how long have you been employed in that

12                                                                    12        capacity?

13                                                                    13        A.      Just under five years.

14                                                                    14        Q.   Okay.      And where were you employed before

15                                                                    15        that?

16                         INDEX OF ATTORNEY REQUESTS                 16        A.      Hy-Vee Corporate as a officer.

17            Request by             Page       Line                  17        Q.      Okay.   And did you have some prior law

18            Mr. Boles              32         8                     18        enforcement experience?

19                                                                    19        A.      No.

20                                                                    20        Q.      Okay.   Were you ever involved with the

21                                                                    21        Urbandale Police Department?

22                                                                    22        A.      No.

23                                                                    23        Q.   Okay.      What's your education background?

24                                                                    24        A.   I have an associate's degree in criminal

25                                                                    25       justice from Indian Hills.
               SWEENEY COURT REPORTING (515) 244-6373                            SWEENEY COURT REPORTING (515) 244-6373
         320 Insurance Exchange Bldg., Des Moines, IA 50309                320 Insurance Exchange Bldg., Des Moines, IA 50309




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 1            these tests and the three advanced roadside                1        misremembered or you disagree with that?

 2            impairments, there was no indication that he was           2                       MR. MILLER:   Objection, form and

 3            under the influence of alcohol, was there?                 3        foundation.

 4                         MR. MILLER:   Objection, form and             4        A.     No.

 5            foundation.                                                5        Q.     Okay.   And if he said that all he simply did

 6            A.   Correct.                                              6        was talk to those two individuals and determined

 7            Q.   All right.    And Officer Wing was standing           7        he doesn't even need to run through any battery

 8            there the whole time?                                      8        of tests and released them, said they're not

 9            A.   Yes.     Lieutenant Wing was, yes.                    9        under the influence of narcotics, would you have

10            Q.   Was he riding with you that night?                   10        reason to object to that?

11            A.   Yes.                                                 11                       MR. MILLER:   Objection, form and

12            Q.   Okay.     Was he riding with you the whole           12        foundation.

13            shift?                                                    13        A.     For those two specific stops, no.

14            A.   I believe I had just picked him up.                  14        Q.     Okay.   So at that point after he is cleared,

15            Q.   So he was not in your vehicle when you had           15        "he" being Mr. Galanakis is cleared with all of

16            made two previous traffic stops on that                   16        the roadside testing, you still have a belief

17            particular shift?                                         17        that he's under the influence of drugs; correct?

18            A.   That's correct.                                      18        A.     Yes.

19            Q.   And on those two previous traffic stops you          19        Q.     What were the indicators that you believe he

20            asked the DRE Officer Shinkle to do drug                  20        exhibited that showed he was under the influence

21            recognition exams on those two drivers; correct?          21        of the drugs?

22            A.   I don't recall that.                                 22        A.     He showed five clues of impairment in the

23            Q.   Okay.     Well, if he says in the internal           23        walk-and-turn test, he showed two clues of

24            affairs investigation that you had asked him to           24        impairment in the one-leg stand test, and also

25           do that, would you have reason to say that he has          25       had indicators of impairment in the advanced
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                                                                   15                                                                     16

                               CONFIDENTIAL                                                          CONFIDENTIAL

 1            roadside impaired driving tests.                           1        him, didn't you?

 2            Q.   Okay.    What do those specifically correlate         2        A.     No.

 3            with the determination that there is a need for a          3        Q.     You didn't?    Did you have a chance to read

 4            DRE exam?                                                  4        the internal affairs report?

 5            A.   Can you rephrase your question?                       5        A.     The only parts I've reviewed were the parts

 6            Q.   What about those indicators causes you, as            6        of me being notified of the internal and the

 7            an officer, to believe that now you should go              7        findings of the internal investigation.

 8            ahead and have a DRE officer run him through               8        Q.     Okay.   I've got a copy on here.   I've got to

 9            testing?                                                   9        find mine that -- I can just give it to you.

10            A.   Through those -- through my training and             10               Back page.    We've marked it as Exhibit 1;

11            experience with those tests, individuals that             11        City Request for Production number nine -- page

12            demonstrate indicators of impairment indicate             12        907.   That second to last paragraph, if you would

13            drug impairment within their person.   I am not a         13        read that.

14            certified drug recognition expert, therefore I            14        A.     Okay.

15            was reaching out to our DRE.                              15        Q.     Okay.    Does that refresh your recollection

16            Q.   Okay.    And in this specific instance with          16        of the two previous people that you referred for

17            Mr. Galanakis, your experience and training was           17        a DRE?

18            wrong, wasn't it?                                         18        A.     I had questions about them, yes, I believe.

19                         MR. MILLER:   Objection, form and            19        Q.     Okay.     You would agree that you placed

20            foundation.                                               20        Mr. Galanakis under arrest for OWI?

21            A.   At the end of the investigation, yes.                21        A.     Yes.

22            Q.   And even in spite of Shinkle telling Wing            22        Q.     And you handcuffed him?

23            "he's good" meaning Mr. Galanakis is good, he             23        A.     Yes.

24            doesn't exhibit any signs of being under the              24        Q.     And you searched and then placed him in the

25           influence of drugs, you still wanted to charge             25       back of patrol car 843?
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 1                          C E R T I F I C A T E

 2

 3                 I, Emma L. Rosky, a Certified Shorthand
              Reporter of the State of Iowa and Registered
 4            Professional Reporter, do hereby certify that
              there came before me at the time, date, and place
 5            hereinbefore indicated, the witness named on the
              caption sheet hereof, who was by me duly sworn to
 6            testify to the truth of said witness's knowledge,
              touching and concerning the matters in
 7            controversy in this cause; that the witness was
              thereupon examined under oath, the examination
 8            taken down by me in shorthand, and later reduced
              to printed form under my supervision and
 9            direction, and that the deposition is a true
              record of the testimony given and of all
10            objections interposed.

11                 I further certify that I am neither attorney
              or counsel for, or related to or employed by any
12            of the parties to the action in which this
              deposition is taken, and further that I am not a
13            relative or employee of any attorney or counsel
              employed by the parties hereto or financially
14            interested in the action.

15

16                 Dated at Des Moines, Iowa, this 11th day of

17            December, 2023.

18

19

20

21                               /s/ Emma L. Rosky

22                              CERTIFIED SHORTHAND REPORTER,
                                and REGISTERED PROFESSIONAL
23                              REPORTER

24

25
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· · · · · ··IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE SOUTHERN DISTRICT OF IOWA
· · · · · · · · · · ··CENTRAL DIVISION
·
·TAYVIN GALANAKIS,· · · · · · · · ·§
· · ··Plaintiff,· · · · · · · · · ·§
· · · · · · · · · · · · · · · · · ·§
·V.· · · · · · · · · · · · · · · ··§ CASE NO. 4:23-cv-00044
· · · · · · · · · · · · · · · · · ·§
·CITY OF NEWTON, IOWA, ROB BURDESS,§
·NATHAN WINTERS, CHRISTOPHER WING, §
·INDIVIDUALLY AND IN THEIR· · · · ·§
·OFFICIAL CAPACITIES WITH THE· · ··§
·NEWTON POLICE DEPARTMENT,· · · · ·§
· · ··Defendants.· · · · · · · · ··§
· · · · · · · · · · · · · · · · · ·§
··-------------------------------··§
· · · · · · · · · · · · · · · · · ·§
·NATHAN WINTERS AND CHRISTOPHER· ··§
·WING,· · · · · · · · · · · · · · ·§
· · ··Defendants/Counterclaim· · ··§
· · ··Plaintiffs,· · · · · · · · ··§
· · · · · · · · · · · · · · · · · ·§
·V.· · · · · · · · · · · · · · · ··§
· · · · · · · · · · · · · · · · · ·§··Removed from the
·TAYVIN GALANAKIS,· · · · · · · · ·§··District Court for
· · ··Plaintiff/Counterclaim· · · ·§··Jasper County, Iowa
· · ··Defendant.· · · · · · · · · ·§··No. LACV123038
· · · ·_____________________________________________
·
· · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · ··LANCE PLATT
· · · · · · · · · · ··NOVEMBER 3, 2023
· · · · · · · · · · · ·VOLUME 1 of 1
· · · ·_____________________________________________
·
· · ··ORAL AND VIDEOTAPED DEPOSITION OF LANCE PLATT,
·produced as a witness at the instance of the Defendants
·City of Newton and Rob Burdess and Defendants/Counterclaim
·Plaintiffs Nathan Winters and Christopher Wing and duly
·sworn, was taken in the above-styled and numbered cause on
·the 3rd day of November, 2023, from 9:07 a.m. to 11:56
·a.m., before Laurin Rainer, Certified Shorthand Reporter
·in and for the State of Texas, reported by computerized
·stenotype machine, at the offices of Associated Court
·Reporters, 1716 Briarcrest Drive, Suite 300, Bryan, Texas
·77802, pursuant to the Federal Rules of Civil Procedure
·and the provisions stated on the record or attached
·hereto.

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·1·
  · · · · · · · · · · · ··APPEARANCES                            ·1·
                                                                   · · · · · · · · · ·P R O C E E D I N G S
·2·
  ·FOR THE DEFENDANTS CITY OF NEWTON AND ROB BURDESS AND         ·2·
                                                                   · · · · · · · ··THE VIDEOGRAPHER:··Today is Friday,
 ··DEFENDANTS/COUNTERCLAIM
    ·                      PLAINTIFFS NATHAN WINTERS AND
                                                                 ·3·
                                                                   ·November 3rd, 2023.··We're on the record at 9:07 a.m.
·3·
  ·CHRISTOPHER WING:
·4·
  · · ··Mr. Nicholas F. Miller                                   ·4·
                                                                   · · · · · · · ··THE REPORTER:··Pursuant to Federal Rules of
 ···· ··Brick Gentry, P.C.                                       ·5·
                                                                   ·Civil Procedure 30(b)(5)(A)(i), this is the deposition of
·5·
  · · ··6701 Westown Parkway
                                                                 ·6·
                                                                   ·Lance Platt.··Today's date is November 3, 2023, and the
 ···· ··Suite 100
·6·
  · · ··West Des Moines, Iowa 50266                              ·7·
                                                                   ·time is 9:07.
 ···· ··Telephone: (515)274-1450 - Fax: (515)274-1488            ·8·
                                                                   · · · · · · · ··My name is Laurin Rainer, Registered
·7·
  · · ··Email: nick.miller@brickgentrylaw.com
                                                                 ·9·
                                                                   ·Professional Reporter, Certified Shorthand Reporter in the
·8·
  ·FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT TAYVIN GALANAKIS:
·9·
  · · ··Mr. Matthew M. Boles                                     10·
                                                                   ·state of Texas, CSR No. 8307.··My business address is
 ···· ··Matthew M. Boles                                         11·
                                                                   ·Associated Court Reporters, 1225 North Loop West, Suite
10·
  · · ··Gribble, Boles, Stewart & Witosky Law
                                                                 12·
                                                                   ·327, Houston, Texas 77008.
 ···· ··2015 Grand Avenue
11·
  · · ··Suite 200                                                13·
                                                                   · · · · · · · ··This deposition is being conducted at the
 ···· ··Des Moines, Iowa 50312                                   14·
                                                                   ·offices of Associated Court Reporters, 1716 Briarcrest
12·
  · · ··Telephone:··(515)644-6852
                                                                 15·
                                                                   ·Drive, Suite 300, Bryan, Texas 77802.
 ···· ··Email: mboles@gbswlaw.com
13·
  ·                                                              16·
                                                                   · · · · · · · ··Those present at this deposition include
14·
  ·ALSO PRESENT:                                                 17·
                                                                   ·the following persons:··Mr. Nicholas Miller, Mr. Matthew
15·
  · · ··Ms. Myra Thetford, Videographer
                                                                 18·
                                                                   ·Boles, Dr. Lance Platt, and Ms. Myra Thetford.
16·
  ·
17·
  ·                                                              19·
                                                                   · · · · · · · ··I will now administer the oath.··Will you
18·
  ·                                                              20·
                                                                   ·raise your right hand for me?··Do you solemnly swear or
19·
  ·
                                                                 21·
                                                                   ·affirm that the testimony you are about to give in this
20·
  ·
21·
  ·                                                              22·
                                                                   ·matter will be the truth, the whole truth, and nothing but
22·
  ·                                                              23·
                                                                   ·the truth, so help you God?
23·
  ·
                                                                 24·
                                                                   · · · · · · · ··THE WITNESS:··Yes, ma'am.
24·
  ·
25·
  ·                                                              25·
                                                                   · · · · · · · · · · · · · · ·*

                                                        Page 3                                                             Page 5
·1·
  · · · · · · · · · · · · · ·INDEX                               ·1·
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·2·
  · · · · · · · · · · · · · · · · · · · · · · · · ··PAGE         ·2·
                                                                   ·having been first duly sworn, testified as follows:
·3·
  ·Appearances .........................................· ··2    ·3·
                                                                   · · · · · · · · · · · ··EXAMINATION
·4·
  ·LANCE PLATT
                                                                 ·4·
                                                                   ·BY MR. MILLER:
·5·
  · · ··Examination by Mr. Nicholas F. Miller ..........· ··4
                                                                 ·5·
                                                                   · · ·Q.· ··State your name.
·6·
  ·Reporter's Certificate ..............................··102
                                                                 ·6·
                                                                   · · ·A.· ··Lance Platt, P-l-a-t-t.
·7·
  ·
·8·
  · · · · · · · · · · · · ··EXHIBITS                             ·7·
                                                                   · · ·Q.· ··Are you employed?

·9·
  ·NO.··DESCRIPTION· · · · · · · · · · · · · · · · · · ··PAGE    ·8·
                                                                   · · ·A.· ··I am.

10·
  ·1· ··Platt and Associates Technical Report ..........· ·13    ·9·
                                                                   · · ·Q.· ··Where?
11·
  ·2· ··Body cam video .................................· ·20    10·
                                                                   · · ·A.· ··I am a self-employed consultant.··The name of my
12·
  ·3· ··William Penn University Sports Medicine Department       11·
                                                                   ·company is Platt and Associates.
 ···· ··Drug Education and Testing Program Policy ......· ·90
                                                                 12·
                                                                   · · ·Q.· ··What would you consider your profession?
13·
  ·
                                                                 13·
                                                                   · · ·A.· ··I evaluate cases, criminal and civil cases,
 ··4·
   · ··National Association of Intercollegiate Athletics
                                                                 14·
                                                                   ·mainly impaired driving, also police practices and
14·
  · · ··National Administrative Council Drug Testing
                                                                 15·
                                                                   ·procedures, including use of force.
 ···· ··Policy Manual ..................................· ·93
15·
  ·                                                              16·
                                                                   · · ·Q.· ··Is the curriculum vitae that you provided with

16·
  ·                                                              17·
                                                                   ·your expert report in this case current and up-to-date?
17·
  ·                                                              18·
                                                                   · · ·A.· ··Yes, sir.
18·
  ·                                                              19·
                                                                   · · ·Q.· ··How did you get into drug recognition or the
19·
  ·
                                                                 20·
                                                                   ·field that you're in now?
20·
  ·
                                                                 21·
                                                                   · · ·A.· ··I was a police officer in College Station,
21·
  ·
                                                                 22·
                                                                   ·Texas, which is right next to where we are, and left there
22·
  ·
                                                                 23·
                                                                   ·in 1999.··I went to work for the Texas Engineering
23·
  ·
24·
  ·                                                              24·
                                                                   ·Extension Service, which is part of Texas A&M University.

25·
  ·                                                              25·
                                                                   ·While I was there, I served several capacities.··I was a


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                                                         Page 10                                                         Page 12
·1·
  · · ·Q.· ··Now I'm asking about a ten-year.                      ·1·
                                                                     ·Because there may be times, like you said, when I see that

·2·
  · · ·A.· ··Okay.··Ten -- within the ten years, I would say       ·2·
                                                                     ·they're impaired, I'm like, "Here, here's my report, but I

·3·
  ·I probably have given five to ten depositions.··I don't         ·3·
                                                                     ·I'm not going to testify."

·4·
  ·know the exact amount.··I do -- I did submit some -- the        ·4·
                                                                     · · · · · · · ··I'll get the discovery in that they want me

·5·
  ·cases that I've testified in, but I don't know the exact        ·5·
                                                                     ·to look at.··When I say "they," I'm talking about the

·6·
  ·number of depositions.··But I've testified as an expert         ·6·
                                                                     ·attorneys.··And I'll look at the discovery, and then I'll

·7·
  ·and been qualified well over 300 times.                         ·7·
                                                                     ·compile a report, send the report back to the attorney,

·8·
  · · ·Q.· ··Over the course of how many years?                    ·8·
                                                                     ·and then we go from there.

·9·
  · · ·A.· ··Since 2002.                                           ·9·
                                                                     · · ·Q.· ··When you say you look at the discovery, what
10·
  · · ·Q.· ··In any of those cases, have you opined or             10·
                                                                     ·types of things are you talking about?
11·
  ·concluded that the person subject to the field sobriety         11·
                                                                     · · ·A.· ··I get case reports, video.··Mainly, my stuff

12·
  ·testing was impaired or intoxicated?                            12·
                                                                     ·that I look at is what happened on the street.··You know,

13·
  · · ·A.· ··That happens a lot when I do evaluations of           13·
                                                                     ·it -- it's the arrest report, any supplemental arrest

14·
  ·cases.··Now, I do -- I do up front evaluations of -- of a       14·
                                                                     ·reports to what happened on the street, if there were

15·
  ·case.··Many times -- and I say many times -- the case is        15·
                                                                     ·field sobriety that was done out on the street, if there

16·
  ·no good for me.··I mean, I -- I -- they hire me to look at      16·
                                                                     ·was a drug recognition expert exam that was done away from

17·
  ·it, and I look at it, and I make a decision.··And if I          17·
                                                                     ·the street.··So my stuff is really contained to -- to the

18·
  ·feel like I can help, I help.··If I can't, I can't.··But        18·
                                                                     ·actual enforcement -- the law enforcement out on the

19·
  ·I'm very forward with them, like, this is what this is,         19·
                                                                     ·street.··That -- that's my -- my scope.

20·
  ·this is what I see.··That's the only way that you can be        20·
                                                                     · · ·Q.· ··So you -- you said arrest reports.··You would
21·
  ·because there is no other way.                                  21·
                                                                     ·review --
22·
  · · · · · · · ··So I do an evaluation, you know, an up           22·
                                                                     · · ·A.· ··Yes, sir.

23·
  ·front evaluation of the case.··The testimony and the            23·
                                                                     · · ·Q.· ··-- those documents?··What other documents would
24·
  ·deposition is me.··I mean, I will not do it unless I want       24·
                                                                     ·you review?
25·
  ·to.··So it -- it's -- it's up to me, and the attorneys          25·
                                                                     · · ·A.· ··Arrest reports, I look at toxicology reports

                                                         Page 11                                                         Page 13
·1·
  ·know that up front when I talk to them.                         ·1·
                                                                     ·sometimes, any supplemental reports that the officers turn

·2·
  · · ·Q.· ··So for the cases in which you are deposed or the      ·2·
                                                                     ·in, anything to do with booking.··Booking.··Anything like

·3·
  ·cases in which you testify in court, how many of those --       ·3·
                                                                     ·that that has law enforcement related to it, I look at it.

·4·
  ·in how many of those have you concluded that the person         ·4·
                                                                     · · ·Q.· ··Do you ever review videos?
·5·
  ·subject to the field sobriety testing was impaired or           ·5·
                                                                     · · ·A.· ··I do.

·6·
  ·intoxicated?                                                    ·6·
                                                                     · · ·Q.· ··What kind?
·7·
  · · ·A.· ··In court, it would be all of them.                    ·7·
                                                                     · · ·A.· ··Arrest videos, in car, I've reviewed videos from

·8·
  · · ·Q.· ··You concluded that the person subject to the          ·8·
                                                                     ·jails, but usually it's the in car video that I look at

·9·
  ·testing was impaired or intoxicated?                            ·9·
                                                                     ·because in -- with a OWI, you have the three phases.··You

10·
  · · ·A.· ··No, was -- was not impaired.                          10·
                                                                     ·know, and you have the video, and a lot of it starts when

11·
  · · ·Q.· ··Was not.··Explain your process when you're            11·
                                                                     ·the person is driving.··So I do look at the video from

12·
  ·retained as an expert witness for evaluating the field          12·
                                                                     ·start to finish.··Now, some cases don't have video.··You

13·
  ·sobriety testing.                                               13·
                                                                     ·know, those are difficult because there's really

14·
  · · ·A.· ··Usually, it's a contact, you know, through the        14·
                                                                     ·nothing -- nothing to look at.··But the ones that have

15·
  ·phone or through the -- through the internet, and I'll          15·
                                                                     ·video, I do.··I -- I look at the video from start to

16·
  ·contact the attorney and tell them what I do.··It usually       16·
                                                                     ·finish, and that's what my report is based on.

17·
  ·takes some explanation because there's not a ton of people      17·
                                                                     · · ·Q.· ··What about officer body cam videos?··Do you
18·
  ·out there that -- that do exactly what -- what I do.··And       18·
                                                                     ·normally review those?
19·
  ·we'll talk about the case, and I'll tell them up front I        19·
                                                                     · · ·A.· ··Yes, any -- any -- any video.

20·
  ·do an up front evaluation, and there is no way around           20·
                                                                     · · · · · · · ··(Exhibit 1 marked)
21·
  ·that.··I mean, I do an evaluation up front, and this is         21·
                                                                     · · ·Q.· ·(BY MR. MILLER) Dr. Platt, I'm going to hand you
22·
  ·what it costs.··If you don't want to do it, then we can go      22·
                                                                     ·what's been marked as Defense Deposition -- I'm sorry --
23·
  ·ahead and hang up.                                              23·
                                                                     ·Platt Deposition 1, Exhibit 1.··What is that?
24·
  · · · · · · · ··I do that for two reasons.··Number one is        24·
                                                                     · · ·A.· ··That is what I refer to as a Technical Report

25·
  ·to protect the client.··Number two is to protect me.            25·
                                                                     ·for Mr. Matthew Boles for Tayvin Galanakis.


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·1·
  · · ·Q.· ··Did you create Platt Deposition Exhibit 1?           ·1·
                                                                    ·2023 version of the NHTSA SFST manual?
·2·
  · · ·A.· ··Yes, I did.                                          ·2·
                                                                    · · ·A.· ··I have.··I actually taught a class, a 2023

·3·
  · · ·Q.· ··Is Platt Deposition Exhibit 1 a true and             ·3·
                                                                    ·class.

·4·
  ·accurate copy of the report that you authored in this          ·4·
                                                                    · · ·Q.· ··Are there meaningful differences between the
·5·
  ·case?                                                          ·5·
                                                                    ·2023 version and the 2018 version?
·6·
  · · ·A.· ··Yes, sir.                                            ·6·
                                                                    · · ·A.· ··No, not really.··I mean, if you look at field

·7·
  · · ·Q.· ··In connection with your report in this case,         ·7·
                                                                    ·sobriety testing as -- as a whole, they really can't

·8·
  ·what resources did you review?                                 ·8·
                                                                    ·change anything because if you did, you would have to

·9·
  · · ·A.· ··I looked at the video of the scene, I believe,       ·9·
                                                                    ·revalidate, and NHTSA is not going to do that, in my

10·
  ·and then I looked at the -- the arrest report that they        10·
                                                                    ·opinion.··So other than there being some -- they changed

11·
  ·had out on the street.··Let's see.··The case report and        11·
                                                                    ·some definitions of some words, some of the stuff is

12·
  ·the video.··That's -- that's -- that's what I looked at.       12·
                                                                    ·changed, and I'm -- the statistics are changed.··In 2018,

13·
  ·I try to keep my scope tight.··I mean, that's -- that's --     13·
                                                                    ·they were really heavy on cannabis.··They like to -- they

14·
  ·that's what -- what I looked at.··That's what I --             14·
                                                                    ·-- they're -- they're moving towards a drugged driving.

15·
  · · ·Q.· ··Were there any pieces of literature or other         15·
                                                                    · · · · · · · ··So there were a few minor changes that were

16·
  ·resources that you rely on when you're authoring your          16·
                                                                    ·made; but as far as the tests go and the validity of the

17·
  ·report?                                                        17·
                                                                    ·tests, that's been the same since 1977.··That hasn't

18·
  · · ·A.· ··I look at the -- the NHTSA, the National Highway     18·
                                                                    ·changed at all, and they're still alcohol tests.

19·
  ·Traffic Safety Administration, or NHTSA, manuals, the --       19·
                                                                    · · ·Q.· ··What other resources or pieces of literature did
20·
  ·the manuals that the officers use in their training.··I --     20·
                                                                    ·you review in preparing your report in this case?
21·
  ·I reference from those and look at those, also, because        21·
                                                                    · · ·A.· ··I looked at the NHTSA manuals, mainly.··That's

22·
  ·that's what the officers are trained out of.                   22·
                                                                    ·about all that I used.··After the report was done and

23·
  · · ·Q.· ··You're referring to the NHTSA FSST manual [sic]?     23·
                                                                    ·turned in, another -- a -- a peer reviewed and published

24·
  · · ·A.· ··SFST.                                                24·
                                                                    ·study came out from the Journal of the American Medical

25·
  · · ·Q.· ··What does SFST stand for?                            25·
                                                                    ·Association, and I did look at that, and I believe I told

                                                        Page 15                                                            Page 17
·1·
  · · ·A.· ··Standardized field sobriety testing.                 ·1·
                                                                    ·Mr. Boles about that, that study.

·2·
  · · ·Q.· ··What version of the NHTSA SFST manual did you        ·2·
                                                                    · · ·Q.· ··To prepare your report and your opinions in this
·3·
  ·rely on in authoring your report?                              ·3·
                                                                    ·case, did you review or consult any Advanced Roadside
·4·
  · · ·A.· ··I looked at the 2018 manual, as when the arrest      ·4·
                                                                    ·Impaired Driving Enforcement manuals?
·5·
  ·was made in 2022, the 2023 manual hadn't been released         ·5·
                                                                    · · ·A.· ··I may have looked at the ARIDE manual kind of,

·6·
  ·yet, but there is a 2023 manual out there, but I               ·6·
                                                                    ·but it was mainly SFST because that's what happened out on

·7·
  ·referenced the -- I usually reference the manual -- or         ·7·
                                                                    ·the street.

·8·
  ·always reference the manual that the officers used at the      ·8·
                                                                    · · ·Q.· ··When you say "ARIDE," that's the Advanced
·9·
  ·time that they were trained in and at the time that the        ·9·
                                                                    ·Roadside --
10·
  ·arrest was made.··So NHTSA spreads those manuals out.          10·
                                                                    · · ·A.· ··Yeah.··I'm sorry.

11·
  ·Every four or five years, they a release a new one.··So at     11·
                                                                    · · ·Q.· ··-- Impaired Driving Enforcement?
12·
  ·the time this arrest was made, it was the 2018.                12·
                                                                    · · ·A.· ··Yes, sir.··I'm sorry.··That's what that stands

13·
  · · ·Q.· ··That would have been the most --                     13·
                                                                    ·for, A-R-I-D-E.

14·
  · · ·A.· ··The most recent.                                     14·
                                                                    · · ·Q.· ··No worries.··Just making a record.··Okay.··And
15·
  · · ·Q.· ··-- current version?                                  15·
                                                                    ·remind me:··Why did you not consult that piece of
16·
  · · ·A.· ··Yes, sir.                                            16·
                                                                    ·literature?
17·
  · · ·Q.· ··Are you familiar -- when did the 2023 version        17·
                                                                    · · ·A.· ··I looked -- I looked at it.··I know that some of

18·
  ·get published?                                                 18·
                                                                    ·the tests that he did were from the ARIDE protocol, but I

19·
  · · ·A.· ··They had a -- they had a release of that to the      19·
                                                                    ·was familiar with that anyway.··I knew the protocol.··The

20·
  ·trainers, I think, in 02 of '23, but it wasn't released        20·
                                                                    ·main tests that he did -- the horizontal gaze, walk and

21·
  ·out to the officers, gosh, until I think the -- the June       21·
                                                                    ·turn, and one leg stand -- are alcohol specific tests.

22·
  ·or July, maybe August of '23, or maybe even later than         22·
                                                                    ·Standardized field sobriety tests.··So that -- that's why

23·
  ·that.··I know -- I think there were some problems with         23·
                                                                    ·I looked at the SFSTs mainly.

24·
  ·some of the editing and stuff like that, so.                   24·
                                                                    · · ·Q.· ··Did you review or consult any manuals other than
25·
  · · ·Q.· ··Since its publication, have you reviewed the         25·
                                                                    ·drug recognition expert manuals, particularly ones from


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                                                        Page 18                                                           Page 20
·1·
  ·the IACP?                                                      ·1·
                                                                    · · ·Q.· ··Do you remember which officer's body cam video

·2·
  · · ·A.· ··No, sir, I -- I kept it in -- all within the         ·2·
                                                                    ·you reviewed?

·3·
  ·NHTSA -- NHTSA realm.                                          ·3·
                                                                    · · ·A.· ··I believe it was the -- I don't think it was the

·4·
  · · ·Q.· ··What is the IACP?                                    ·4·
                                                                    ·lieutenant.··I believe it was the -- the -- the arresting

·5·
  · · ·A.· ··Internal Association of Chiefs of Police.            ·5·
                                                                    ·officer that I looked at.

·6·
  · · ·Q.· ··Did you review Matt Bruner's expert report that      ·6·
                                                                    · · ·Q.· ··Would that be Officer Nathan Winters?

·7·
  ·was authored in this case?                                     ·7·
                                                                    · · ·A.· ··Winters is his last name, yeah.··And I think

·8·
  · · ·A.· ··I did.··I did look at that, yes.                     ·8·
                                                                    ·Wing was the lieutenant.··Lieutenant Wing.

·9·
  · · ·Q.· ··Based on all the information, literature, and        ·9·
                                                                    · · ·Q.· ··Do you recall if the body cam video from Officer

10·
  ·materials you reviewed in connection with this case, did       10·
                                                                    ·Winters' body was identified by a Bates number?

11·
  ·you reach any opinions?                                        11·
                                                                    · · ·A.· ··I don't know.

12·
  · · ·A.· ··I did.                                               12·
                                                                    · · · · · · · ··(Exhibit 2 marked)

13·
  · · ·Q.· ··Specifically, what are your opinions?                13·
                                                                    · · ·Q.· ·(BY MR. MILLER) Dr. Platt, I'm going to show you

14·
  · · ·A.· ··My opinion specifically is that on this night,       14·
                                                                    ·a thumbnail of Officer Winters' -- the beginning

15·
  ·Mr. Galanakis was not under the influence of cannabis.         15·
                                                                    ·of Officer --

16·
  · · ·Q.· ··Did you reach any other opinions?                    16·
                                                                    · · ·A.· ··Uh-huh.

17·
  · · ·A.· ··As far as being under the influence?··No.··I         17·
                                                                    · · ·Q.· ··-- Winters' body cam video.··Does that, to you,

18·
  ·don't believe he -- he shouldn't have been arrested.··He       18·
                                                                    ·look like an accurate thumbnail of the very beginning of

19·
  ·was not under the influence and -- which was proven later      19·
                                                                    ·the video that you reviewed?

20·
  ·by the drug recognition person, but that was my -- that        20·
                                                                    · · ·A.· ··Based on my recollection, yeah, it looks -- it

21·
  ·was my end result, was that he shouldn't have been             21·
                                                                    ·looks familiar.··But, yes, his body cam activated inside

22·
  ·arrested.··I didn't see a loss of mental or physical           22·
                                                                    ·of the vehicle.··It looks -- it looks familiar, yes.

23·
  ·faculty that I believe rose to the level of a drug.··I         23·
                                                                    · · ·Q.· ··In the bottom left-hand corner of the video

24·
  ·didn't believe he was under the influence of cannabis,         24·
                                                                    ·screen there, do you see a Bates number?

25·
  ·which I have seen people under the influence of                25·
                                                                    · · ·A.· ··When you say "Bates," what are you talking

                                                        Page 19                                                           Page 21
·1·
  ·cannabis -- cannabis before.··I believe they got into an       ·1·
                                                                    ·about?

·2·
  ·argument, and this was the end result of the argument.··So     ·2·
                                                                    · · ·Q.· ··Do you see a reference down there, City I.D. --
·3·
  ·that's -- that was my opinion.                                 ·3·
                                                                    · · ·A.· ··Yeah, City I.D. 00630.

·4·
  · · ·Q.· ··Any other opinions?                                  ·4·
                                                                    · · ·Q.· ··Was the video that you reviewed to prepare your
·5·
  · · ·A.· ··No, sir.                                             ·5·
                                                                    ·report similarly marked with that identifier?
·6·
  · · ·Q.· ··Do you plan on forming any additional opinions?      ·6·
                                                                    · · ·A.· ··You know what?··I don't remember.

·7·
  · · ·A.· ··I don't plan on it, no.                              ·7·
                                                                    · · ·Q.· ··Okay.··I'm handing you back Platt Deposition
·8·
  · · ·Q.· ··To prepare your expert report, which has been        ·8·
                                                                    ·Exhibit No. 1 [sic], which is the body cam video from
·9·
  ·previously marked as Platt Deposition Exhibit 1, did you       ·9·
                                                                    ·Officer Winters.··Can you go ahead and play through that
10·
  ·review any videos?                                             10·
                                                                    ·and let me know if that's a copy of the video that you
11·
  · · ·A.· ··Yes.··There was a video of the scene, the stop       11·
                                                                    ·reviewed to prepare your report in this case?
12·
  ·video.                                                         12·
                                                                    · · ·A.· ··Yeah, I --

13·
  · · ·Q.· ··What kind of video was that?                         13·
                                                                    · · ·Q.· ··Go ahead.
14·
  · · ·A.· ··That was the video where they had stopped him        14·
                                                                    · · ·A.· ··Just here?

15·
  ·and -- and got him out and were -- were conversing and         15·
                                                                    · · ·Q.· ··It's touch, or you can use -- I'm sorry.
16·
  ·talking with him, where you actually saw all three of          16·
                                                                    ·It's -- what I'm showing you is Platt Deposition Exhibit
17·
  ·the -- the people on video.                                    17·
                                                                    ·2, not Deposition Exhibit 1.
18·
  · · ·Q.· ··Was it a body camera?                                18·
                                                                    · · ·A.· ··Okay.

19·
  · · ·A.· ··I believe it was a body cam.··There was also a       19·
                                                                    · · ·Q.· ··Which I'll just note for the record.··So go
20·
  ·dashcam, but the body cam was the one that got the most        20·
                                                                    ·ahead and play through that until you can confirm that's a
21·
  ·interaction between the two.                                   21·
                                                                    ·copy of the video that you reviewed in connection with
22·
  · · ·Q.· ··There were two officers on the scene --              22·
                                                                    ·this case.
23·
  · · ·A.· ··Right.                                               23·
                                                                    · · ·A.· ··It's not playing.··Do you need a Mac?··Sorry.··I
24·
  · · ·Q.· ··-- is that right?                                    24·
                                                                    ·have a Mac, Mac Book.
25·
  · · ·A.· ··Right.                                               25·
                                                                    · · ·Q.· ··And you can skip to different portions of that


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                                                      Page 102
·1·
  · · · · · ··IN THE UNITED STATES DISTRICT COURT
 ···· · · · · ·FOR THE SOUTHERN DISTRICT OF IOWA
·2·
  · · · · · · · · · · ··CENTRAL DIVISION
·3·
  ·TAYVIN GALANAKIS,· · · · · · · · ·§
 ···· ··Plaintiff,· · · · · · · · · ·§
·4·
  · · · · · · · · · · · · · · · · · ·§
 ··V.·
    ·   · · · · · · · · · · · · · · ··§ CASE NO. 4:23-cv-00044
·5·
  · · · · · · · · · · · · · · · · · ·§
 ··CITY
    ·    OF NEWTON, IOWA, ROB BURDESS,§
·6·
  ·NATHAN WINTERS, CHRISTOPHER WING, §
 ··INDIVIDUALLY
    ·            AND IN THEIR· · · · ·§
·7·
  ·OFFICIAL CAPACITIES WITH THE· · ··§
 ··NEWTON
    ·      POLICE DEPARTMENT,· · · · ·§
·8·
  · · ··Defendants.· · · · · · · · ··§
 ···· · · · · · · · · · · · · · · · ·§
·9·
  ··-------------------------------··§
 ···· · · · · · · · · · · · · · · · ·§
10·
  ·NATHAN WINTERS AND CHRISTOPHER· ··§
 ··WING,·
    ·      · · · · · · · · · · · · · ·§
11·
  · · ··Defendants/Counterclaim· · ··§
 ···· ··Plaintiffs,· · · · · · · · ··§
12·
  · · · · · · · · · · · · · · · · · ·§
 ··V.·
    ·  · · · · · · · · · · · · · · ··§
13·
  · · · · · · · · · · · · · · · · · ·§··Removed from the
 ··TAYVIN
    ·      GALANAKIS,· · · · · · · · ·§··District Court for
14·
  · · ··Plaintiff/Counterclaim· · · ·§··Jasper County, Iowa
 ···· ··Defendant.· · · · · · · · · ·§··No. LACV123038
15·
  ·
 ···· · ·_____________________________________________
16·
  ·
 ···· · · · · · · ··REPORTER'S CERTIFICATION
17·
  · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
 ···· · · · · · · · · · ··LANCE PLATT
18·
  · · · · · · · · · · ··NOVEMBER 3, 2023
 ···· · ·_____________________________________________
19·
  ·
20·
  · · ··I, LAURIN RAINER, Certified Shorthand Reporter in and
21·
  ·for the State of Texas, hereby certify to the following:
22·
  · · ··That the witness, Lance Platt, was duly sworn by the
23·
  ·officer and that the transcript of the oral deposition is
24·
  ·a true record of the testimony given by the witness;
25·
  ·

                                                      Page 103
·1·
  · · ··That the original deposition transcript was delivered
·2·
  ·to Mr. Nicholas F. Miller;
·3·
  · · ··That a copy of this certificate was served on all
·4·
  ·parties and/or the witness shown herein on
·5·
  ·November 17, 2023.
·6·
  · · ··I further certify that pursuant to FRCP No. 30(e)(2)
·7·
  ·that the signature of the deponent:
·8·
  · · ··_____ was requested by the deponent or a party before
·9·
  ·the completion of the deposition and that the signature is
10·
  ·to be returned within 30 days from the date of receipt of
11·
  ·the transcript.··If returned, the attached Correction Page
12·
  ·contains any changes and the reasons therefor;
13·
  · · ··__X__ was not requested by the deponent or a party
14·
  ·before the completion of the deposition.
15·
  · · ··I further certify that I am neither counsel for,
16·
  ·related to, nor employed by any of the parties in the
17·
  ·action in which this proceeding was taken, and further
18·
  ·that I am not financially or otherwise interested in the
19·
  ·outcome of the action.
20·
  · · ·Certified to by me this 17th day of November, 2023.
21·
  · · · · · · · ··/s/ Laurin Rainer, CSR
 ···· · · · · · ··_________________________________
22·
  · · · · · · · ··Laurin Rainer, CSR, RPR
 ···· · · · · · ··Texas CSR No. 8307, expires 05/31/2024
23·
  · · · · · · · ··Associated Court Reporters
 ···· · · · · · ··Firm Register No. 29
24·
  · · · · · · · ··Waco, Texas 76701
 ···· · · · · · ··Telephone: (254)753-3330
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                                   PLATT and ASSOCIATES
                                       IMPAIRED DRIVING CONSULTING
                                        4343 Carter Creek Parkway, Suite 120
                                                  Bryan, TX 77802

979 846-3950 - office                                                      web: www.impaireddrivingexpert,com
979 412-2346 - cell                                                      email: lance@impaireddrivingexpert.com


July 1,2023

Mr. Matthew Boles
Attorney at Law

 Re:      Re:                     Tayvin Galanakis
          Agency/Case             Newton Police Dep artmentl22-25845
          Number
          Court
          County                  Jasper
          Offense                 Operating While Intoxicated (OWI druss)
          Date of Offense         Ausust 28,2022

Dear Mr. Boles

At your request, I have reviewed the OWI case report and video; I have analyzed Mr. Galanakis'
performance on the three phases of OWI detection including the standardized field sobriety tests that were
given to him in the field by the officer. I have, also, evaluated the officer's performance, regarding the
administrative requirements that are required by the National Highway Traffic Safety Administration
(NHTSA) and the Intemational Association of Chiefs of Police (IACP) in order for the tests to be considered
standardized in accordance with the test battery protocol.

Attached to this letter, you will find a detailed technical report based upon the information that was provided
in the officer's case repofi and video submitted on the night of the arrest. The technical report will outline
the activities of the officer and the defendant as the events unfold. My comments will follow.

If you need clarification of any point, please feel free to contact me.

If there is anything further that Platt and Associates can do for you in the future, please feel free to contact
us at your convenience. It was a pleasure to assist you; and we look forward to a continued relationship
with you and your legal practice.

Sincerely,

Lance A. Platt, Ph.D.


Lance A. Platt, Ph.D
Platt and Associates



                                                                                                             EXHIBIT
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                  Observations of Examiner: Based upon my observation of the submitted
                  video and case report, it is my opinion that Mr. Galanakis does not exhibit
                  physical andlor mental difficulty while being contacted by the officer that I
                  would associate with any type of drugs or alcohol including Cannabis.

                  Lieutenant Wing whom I believe to have been on scene with officer Winters
                  wrote in his supplemental report that after the DRE evaluation he was told by
                  officer's Shinkle and Winters (who has just arrested him right in front of
                  Lieutenant Wing) that officer Shinkle found no signs of impairment, officer
                  Winters asked Lieutenant Wing if he should charge him, he had been arrested.
                  Lieutenant Wing allegedly told officer Winters absolutely not, that if a DRE
                  evaluation showed no evidence, then we weren't going to charge him and that
                  we should give him his property back and take him to his car so he can be on
                  his way." This is the same police officer (supervisor) who witnessed the entire
                  event at the scene including the arrest of Mr. Galanakis for OWI, some of the
                  same "tests" (Romberg, FTN, LOC, HGN) were administered to Mr.
                  Galanakis in the field which were observed by Lieutenant Wing, the same tests
                  were administered on the DRE evaluation by officer Shinkle. Lieutenant Wing
                  stated in his supplemental report that Mr. Galanakis was released to his mom
                  with no charges.

                  All opinions stated herein are stated to a reasonable degree ofprofessional
                  certainty within the fields of my expertise of law enforcement training and
                  procedures including the NHTSA standardized field sobriety testing, drug
                  evaluation and classification and advanced roadside impaired driving
                  edorcement programs administration, scoring and training protocols
                  required in the successful completion of the student and instructor courses,
                  including both standardized and non-standardized tests, the conduct and
                  training of impaired driving investigations, and the NHTSA standardized
                  protocols involving both alcohol and/or drugs other than alcohol.




                                                                   Sincerely,

                                                                   Lance A. Platt, Ph.D.



                                                                    Lance A. Platt, Ph.D.
                                                                    Platt and Associates




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                                               Newton Police Department
                                                           Policy Manual




CHIEF OF POLICE PREFACE
The Newton Police Department Policy Manual represents the best practices of modern police
procedures. These policies serve to establish and communicate expectations, provide guidelines
for daily operations, and validate the principles and our core values of “Excellence and Integrity”
which guide individual and collective performance.
No policy manual can adequately address every conceivable scenario, nor should it. The policies
contained herein are to provide a framework for decision making that will foster a constructive
culture internally and allow employees to be successful in fulfilling their mission. This manual
contains a significant amount of information that reflects the latest statutory requirements and the
current goals and functions of the Department.
All employees are required to abide by these policies, but should not feel that they are so constrained
by them as to eliminate creativity in problem solving. These policies are a tool used when making
decisions so that the outcome is aligned with Department expectations and are in the best interest
of the community. It is important that each employee know and apply these policies in order to
ensure the very best team approach to policing in the City of Newton.
Rob Burdess, Chief of Police




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